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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

DATATERN, INC.,                                 )
                                                )
                                                )        CASE NO. 2:10-CV-00055-TJW
                      Plaintiff,                )
               v.                               )
                                                )
                                                )        JURY TRIAL DEMANDED
SUNTRUST BANKS, INC., ET AL.                    )
                                                )
                      Defendants.               )


                       ORDER OF DISMISSAL WITH PREJUDICE

       In consideration of the parties’ Stipulated Motion for Dismissal of all claims with

prejudice and all counterclaims as moot asserted between Plaintiff DataTern, Inc., and Defendant

DFS Services LLC (formerly known as Discover Financial Services, Inc.), the Stipulated Motion

for Dismissal with Prejudice is GRANTED, and it is

       ORDERED, ADJUDGED, AND DECREED that all claims asserted in this suit between

Plaintiff and Defendant are hereby dismissed with prejudice, and all counterclaims are dismissed

as moot, subject to the terms of that certain agreement entitled “SETTLEMENT AGREEMENT”

dated August 12, 2010. It is further

       ORDERED that each party shall bear its own attorneys’ fees and costs.

        SIGNED this 30th day of August, 2010.



                                            __________________________________________
                                            T. JOHN WARD
                                            UNITED STATES DISTRICT JUDGE




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